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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION



BRENDA L. IVY and KEITH M. IVY,


            Plaintiffs,

v.                                               Cv. No.: 12-2339-JTF


LEA BANNISTER, M.D. and
MEMPHIS OBSTETRICS & GYNECOLOGICAL
ASSOCIATION, P.C.,

            Defendants.


                       AMENDED JUDGMENT

     Amended Decision by Court. This action came for consideration
before the Court.    The issues have been duly considered and a
decision has been rendered.

     IT IS ORDERED AND ADJUDGED that this action is dismissed with
prejudice in accordance with the Joint Stipulation of Dismissal and
Satisfaction of Judgment entered by the Parties and the Order of
Dismissal with Prejudice entered by the Court on February 5, 2014.



APPROVED:

s/John T. Fowlkes, Jr.
JOHN T. FOWLKES, JR.                      THOMAS M.GOULD
UNITED STATES DISTRICT JUDGE              CLERK

February 5, 2014                          s/Lorri Fentress
DATE                                      (By) LAW CLERK
